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MAR 1 4 2008 UNITED STATES JUDICIAL PANEL FILE

 

 

 

MULTIDISTRICT LITIGATION

 

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION MDL No. 1917

GUBICIAL PANEL ON
MULTIDISTRICT LITIGATION

2008

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cra MULTIDISTRICT LITIGATION
FOR THE JUDICIAL PANEL ON

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(SEE ATTACHED SCHEDULE)

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CONDITIONAL TRANSFER ORDER (CTO-1) CLERK ROW. WIEKING
NORTHERN DisrRicr CT COURT

OF CALIFORNIA

On February |5, 2008, the Panel transferred one civil action to the United States District Court for
the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See = F.Supp.2d___s(J.P.M.L. 2008). With the consent of that court, all such
actions have been assigned to the Honorable Samuel Conti.

It appears that the actions on this conditional transfer order involve questions of fact that are
common to the action previously transferred to the Northern District of California and assigned to
Judge Conti.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, 199

F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Northern
District of California for the reasons stated in the order of February 15, 2008, and, with the consent
of that court, assigned to the Honorable Samuel Conti.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of California. The transmittal of this order to said Clerk shall
be stayed 15 days from the entry thereof. If any party files a notice of opposition with the Clerk of
the Panel within this 15-day period, the stay will be continued until further order of the Panel.

  

 

 

?’ Jeffery N. Lithi
Clerk of the Panel

 

 

Inasmuch as no objection is
pending at this time, the
Stay is lifted.

MULTIDISTRICT LITIGATION

 

MAR 1 4 2008

 

 

 

CLERK’S OFFICE
JUDICIAL PANEL ON

 

 
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IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION MDL No. 1917

SCHEDULE CTO-1 - TAG-ALONG ACTIONS

DIST. DIV. C.A. # CASE CAPTION
ARKANSAS WESTERN
ARW 5. 08-5013 Jerry Cook v. Chunghwa Picture Tubes, Ltd., et al.
ARIZONA
AZ 2 08-55 Brian A. Luscher, et al. v. Chunghwa Picture Tubes, Ltd., et al.
MINNESOTA
MN 0 07-4889 Wettstein & Sons, Inc., etc. v. Chunghwa Picture Tubes, Ltd., et al.
MN 0 08-160 Barry Kushner, et al. v. Chunghwa Picture Tubes, Ltd., et al.
NEW JERSEY
NJ 2 07-5713 Princeton Display Technologies, Inc. v. Chunghwa Picture Tubes, Ltd., et al.
NJ 2 08-39 Royal Data Services, Inc. v. Samsung Electronics Co., Ltd., et al.
NJ 2 08-86 OK TV & Appliances, LLC v. Samsung Electronics Co., Ltd., et al.
NEW YORK SOUTHERN
NYS 1 07-10664 Arch Electronics, Inc. v. LG Electronics, Inc., et al.
NYS 1 07-10674 Meijer, Inc., et al. v. LG Electronics, Inc., et al.
NYS 1 07-11203 Industrial Computing, Inc. v. Chunghwa Picture Tubes, Ltd., et al.
OHIO NORTHERN
OHN 1 08-62 Southern Office Supply, Inc. v. Chunghwa Picture Tubes, Ltd., et al.
SOUTH CAROLINA
SC 4 07-4175 Greg A. Glanz v. Chunghwa Picture Tubes, Ltd., et al.
TENNESSEE EASTERN
TNE 2 08-11 Charles Benson v. Chunghwa Picture Tubes, Ltd., et al.
VERMONT

VT 2 08-5 Margaret Slagle v. Chunghwa Picture Tubes, Ltd., et al.
